      Case 1:25-cv-00766-JEB            Document 28-1       Filed 03/18/25      Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




J.G.G., et al.,


Petitioner,
v.                                                     No. 1:25-cv-766 (JEB)
DONALD J. TRUMP, et al.,
                                                       Declaration Of Acting Field Office Director
                                                       Robert L. Cerna
Respondents.




                            DECLARATION OF ROBERT L. CERNA


I, Robert L. Cerna, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:



       1.         I am an Acting Field Office Director Enforcement and Removal Operations

(“ERO”) at U.S. Immigration and Customs Enforcement (“ICE”) within the U.S. Department of

Homeland Security (“DHS”).

       2.         As the (A)FOD of the Harlingen Field Office, I am responsible for, among other

things, the detention and enforcement operations of more than 350 employees, assigned to six

ERO Harlingen offices. ERO Harlingen encompasses fifteen South Texas counties and is

responsible for six detention facilities with a combined total of 3,790 detention beds.
       Case 1:25-cv-00766-JEB          Document 28-1         Filed 03/18/25      Page 2 of 3




       3.      I am aware that the instant lawsuit has been filed regarding the removal of

Venezuelan members of Tren de Aragua (“TdA”) pursuant to the Alien Enemies Act (“AEA”).

       4.      I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.

       5.      ICE understood the Proclamation Invocation of the Alien Enemies Act Regarding

the Invasion of The United States by Tren De Aragua to be effective only once it was posted to

the White House website (https://www.whitehouse.gov/presidential-actions/2025/03/invocation-

of-the-alien-enemies-act-regarding-the-invasion-of-the-united-states-by-tren-de-aragua/), which

was at or around 3:53 PM EDT on March 15, 2025. Based on the face of the Proclamation, it

had been signed by the President on March 14, 2025.

       6.      On March 15, 2025, after the Proclamation was publicly posted and took effect,

three planes carrying aliens departed the United States for El Salvador International Airport

(SAL). Two of those planes departed U.S. territory and airspace before 7:25 PM EDT. The third

plane departed after that time, but all individuals on that third plane had Title 8 final removal

orders and thus were not removed solely on the basis of the Proclamation at issue. To avoid any

doubt, no one on any flight departing the United States after 7:25 PM EDT on March 15, 2025,

was removed solely on the basis of the Proclamation at issue. ICE carefully tracks the TdA

members who are amenable to removal proceedings. At this time approximately 54 members of

TdA are in detention and on the detained docket, approximately 172 are on the non-detained

docket, and approximately 32 are in criminal custody with active detainers against them. Should

they be transferred to ICE custody, they will likely be placed in removal proceedings.


I declare under penalty of perjury that the foregoing is true and correct.
      Case 1:25-cv-00766-JEB        Document 28-1    Filed 03/18/25     Page 3 of 3




Executed this 18th day of March 2025.
                                         ROBERT L Digitally      signed by
                                                        ROBERT L CERNA II

                                         CERNA     II   Date: 2025.03.18
                                                        10:45:15 -05'00'
                                         ____________________________

                                         Robert L. Cerna
                                         Acting Field Office Director
                                         Enforcement and Removal Operations
                                         U.S. Immigration and Customs Enforcement
                                         U.S. Department of Homeland Security
